Case 1:17-cr-00647-R.]D-RER Document 18 Filed 02/02/18 Page 1 of 1 Page|D #: 52

UNITED STATES
SECURITIES AND EXCHANGE C()MMISSION
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February 2, 2018

VIA ECF and UPS OVernight

Hon. Raymond J. Dearie
United States District Court
225 Cadrnan Plaza East
Brooklyn, NY 11201

Re: United States v. Zaslavsl<iy, l7-CR~647 (RJD);
SEC v. REcoin Group Foundationl LLC, et al.` l7-CV-5725 (RJD)

Dear Judge Dearie:

We represent the Plaintiff, Securities and Exchange Commission (the “Commission”), in
the above-referenced civil case, SEC v. REcoin Grour) Foundation. LLC, l7~CV~5725 (RJD)
(the “Civil Case”). As the Court is aware, the Civil Case is now stayed pending the resolution of
the criminal matter United States v. Zaslavskiv, 17-CR-647 (RJD) (the “Criminal Case”). The
Cornrnission understands that defense counsel in the Criminal Case Will brief the legal question
Whether the assets Defendant offered and/or sold constitute “securities” Within the scope of the
federal securities laws, and that defense counsel in the Civil Case may seek leave to join in
Defendant’s briefing on this question Given the Comrnission’s status as the primary regulator
of the federal securities laWs, and the importance of this legal question to the Commission’s
statutory mandate to enforce the federal securities laws, the Cornmission respectfully requests
leave to file a brief in support of the United States and in opposition to Defendant’s motion ln
the brief, the Commission does not intend to repeat arguments made by the United States but,
rather, to assert the unique interests of the Commission in this area.

Respectfully submitted,

 
   

orge G. Tenreir'o
Counsel for the Commission

cc (via email):
Assistant United States Attorney Julia Nestor, Esq.
Federal Public Defender Mildred Whalen, Esq.
Richard Levin, Esq.

